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   PS 42
   (Rev 07/93)
                                                                                             FILED
                                                                                           US DISTRICT COURT
                                                                                       EASTERN DISTRICT AR<.A.NSAS
                                        United States District Court

                                           Eastern District of Arkansas                                              ERK
                                                                                 JAMES
                                                                                 By:
____ . I.Inited States_ofAII1erica,____ _
                                                        )
                       vs                               )
                                                        )
    Rodney Lynn Spradlin                                )                Case No. 4:12CR00306-13 KGB


                            CONSENT TO MODIFY CONDITIONS OF RELEASE

   I, Rodney Lynn Spradlin, have discussed with Kay L. Aist, Pretrial Services/Probation Officer,
   modification of my release as follows:

   The defendant must undergo medical or psychological treatment: submit to mental health
   counseling if the pretrial services officer or supervising officer considers it advisable.

   I consent to this modification of my release conditions and agree to abide by this modificatio


"'i Ro~ ?p~
     Signature of Defendant



    I have reviewed the conditions with my client and concur that this modification is appropriate.


                                                                  t-2t:7.,. t3
                                                                  Date


                 The above modification of conditions of release is ordered, to be effective on 1- Z '1--1.3
                                                                                                          Ill !1/..J ~ , .,.. +'~'"' ~
    [ ]          The above modification of conditions of release is not ordered.

      ------z(J !Jar-                                           ;;. -'f-1 s
     Signature pf Judicial Officer                                Date
